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8                                       UNITED STATES DISTRICT COURT

9                                  CENTRAL DISTRICT OF CALIFORNIA

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11     CITY OF ALMATY,                            )   Case No. CV 15-2628 FMO (CWx)
                                                  )
12                         Plaintiff,             )
                                                  )
13                  v.                            )   JUDGMENT
                                                  )
14     VICTOR KHRAPUNOV, et al.,                  )
                                                  )
15                         Defendants.            )
                                                  )
16                                                )
                                                  )
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18           IT IS ADJUDGED that the above-captioned action is dismissed without prejudice. The

19     parties shall bear their own fees and costs.

20     Dated this 23rd day of September, 2015.

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22                                                                      /s/
                                                                 Fernando M. Olguin
23                                                          United States District Judge

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